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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

               Plaintiff,

        v.                                                 Case No. 1:25-cv-00716

 U.S. DEPARTMENT OF JUSTICE, et al.,

               Defendants.


                               NOTICE OF APPEARANCE

       The Clerk of the Court will please enter the appearance of Deputy Associate Attorney

General Richard Lawson as counsel for Defendants in this action.


 Dated: March 14, 2025                       Respectfully submitted,

                                             CHAD MIZELLE
                                             Acting Associate Attorney General



                                       By:               /s/ Richard Lawson
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